Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 1 of 36

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
PANAMA CITY DIVISION

CASE NO. 5:19-CV-00257-RH-MJF

MGFB PROPERTIES, INC., FLORA-
BAMA MANAGEMENT, LLC, and
FLORA-BAMA OLD §.A.L.T.S., INC.,

Plaintiffs,
Vv.

VIACOMCBS INC., 495
PRODUCTIONS HOLDINGS LLC, and
495 PRODUCTIONS SERVICES LLC,

Defendants.

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
MOTION TO EXCLUDE THE EXPERT TESTIMONY OF
PROF. DAVID FRANKLYN

UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 2 of 36

 

TABLE OF CONTENTS
PRELIMINARY STATEMENT 1... ceccsscsscserscssseessessscssssnsecsssreseesseesasenssenseenes 1
BACKGROUND uu eeccecccesscssecssscenevesscesssssseessnecesssensesesesensecesesceeecesaresntensereentees 2
LEGAL STANDARD... iecceccsesscserecssesssscssscsssescnsesenseeeneecsseseasesseeseaeecseecenesentens 7
ARGUMENT ....... cc cecsscseseseeseecsecesessesseccsscssssssessesssesssesssassessseesessesnssssnessseesntenes 9

I, Franklyn’s Confusion Survey Uses an Unprecedented
Format That Does Not Reliably Test for Either Forward
Confusion or Reverse Confusion... ceeeeesseeseeseceneesseeseeeeseees 11

A. Franklyn Surveyed the Wrong Universe to Test for
Forward Confusion. ........ceeccesesscessseesecneesneseceseesseessnesaeenes 11

B. Franklyn Used the Wrong Stimulus to Test for
Reverse ConfuSion. .....ccccccccciscccccssssstcccccesessseeseesessenerseseses 15

C. Franklyn’s Hybrid Survey Design Does Not

Reflect Marketplace Conditions. .........cccssessccesseeneesseeens 18

Il. Franklyn’s Screening Question Primed Respondents to
Name Plaintiffs in Answers to Subsequent Questions. .............. 21
I. Franklyn Used an Improper Control... eee eseeeeeseeseeeeeeeseeenees 24

IV. Franklyn’s Coding of Survey Responses Was Neither
Accurate nor ODJOCTIVE. .....ccccessscccssstecessseecssreseesscessesesesaeesenseeseneas 26
CONCLUSION jo. cceccccccsscsseceneceeeeseeneeeeessecsaeessceesaeseeeeseceaseaeeneeeneesseseseeraeeaeenae 29

ii
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 3 of 36

 

TABLE OF AUTHORITIES
Page(s)

Cases
Allison v. McGhan Med. Corp.,

184 F.3d 1300 (11th Cir, 1999) oe ceseceenecseseesssrssssssersssessessecssssesseseeeeseesees 8
Amstar Corp. v. Domino's Pizza, Inc.,

615 F.2d 252 (Sth Cir, 1980) .cceccesescceseessseseesectessscesseescsesesesesesssnseeesees 12, 13
Atlanta Allergy & Asthma Clinic, P.A. y. Allergy & Asthma of Atlanta,

LLC,

685 F. Supp. 2d 1360 (N.D. Ga. 2010)... ec eeccsecsteteesssecsscsssssesesesscseesssenseneeeess 12
CSL Silicones, Inc. v. Midsun Grp. Inc.,

2017 WL 6055380 (D. Conn. Dec. 7, 2017) vce ceeseeeeeeeeseseecenerseesseessesesenes 13
Daubert v. Merrell Dow Pharms., Inc.,

509 U.S. 579 (1993). ..cscsccorscssscetseseecsecesseeseeeeeeeseessesseessseseeesesecsseesseessssssesneenes 1,8
Denimafia Inc. v. New Balance Athletic Shoe, Inc.,

2014 WL 814532 (S.D.N.Y. Mar. 3, 2014)... esesesstectetecssesrecesesseseseeseees 15
Fuel Clothing Co. v. Nike, Inc.,

7 F. Supp. 3d 594 (D.S.C. 2014) wee eescecseneesseeseesessessecsseseeneecsesseenesssesnesneees 21
Gen. Motors Corp. v. Cadillac Marine & Boat Co.,

226 F. Supp. 716 (W.D. Mich. 1964) oe ceceseeseeseeseeseesecereseeeseeseesnesneenseneenaes 28
Hodgdon Powder Co. v. Alliant Techsystems, Inc.,

512 F. Supp. 2d 1178 (D. Kant. 2007)... eeescccseessecseeeeeeeeeeesseeeseeseeeatens 13, 14
Hughes v. Kia Motors Corp.,

766 F.3d 1317 (11th Cir, 2014) oe eeccesssseceteesesecsecseeseeessaecessasenetiesereneeenes 8
Innovation Ventures, LLC v. NVE, Inc.,

90 F. Supp. 3d 703 (E.D. Mich. 2015) occ esessccessesteeeseeseeessecesseesseeseseeeneses 24
J.T. Colby & Co. v. Apple Inc.,

2013 WL 1903883 (S.D.N.Y. May 8, 2013) ...c.ecessssscescssscseecsseeseeeneessesenssens 18

ili
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 4 of 36

Joules Ltd. vy. Macy’s Merch. Grp. Inc.,
2016 WL 4094913 (S.D.N.Y. Aug. 2, 2016)... cccccscserressessesserscrsesseeseeeeteees 12

Kargo Glob., Inc. v. Advance Mag. Publishers, Inc.,
2007 WL 2258688 (S.D.N.Y. Aug. 6, 2007)... ccscsccsssssessssessesseseetesaetrensess 9, 22

Kelly-Brown vy. Winfrey,
95 F. Supp. 3d 350 (S.D.N.Y. 2015) v.cecsccssssesssssssecesessssecsseeetseassessenenesnegs 20, 21

Koninklijke Philips Electronics N.V. v. Hunt Control Sys., Inc.,
2017 WL 3719468 (D.N.J. Aug. 29, 2017) .eecscscsssesesescterrsssesssssssserseseeerees 16

Louis Vuitton Malletier v. Dooney & Bourke, Inc.,
525 F. Supp. 2d 558 (S.D.N.Y. 2007) ...cceccsccssssssesssssssessenseseseeneceesnenseseesesees 24

Phelan Holdings, Inc. v. Rare Hosp. Mgmt., Inc.,
2017 WL 1135266 (M.D. Fla. Mar. 27, 2017) ..ccessesesescssesseetecsessestessesseeenees 13

Pinnacle Advert. & Mktg. Grp., Inc. v. Pinnacle Advert. & Mktg.
Grp., LLC,
2019 WL 7376782 (S.D. Fla. Sept. 26, 2019) oe cceserseserserssssseereess 10, 18, 22

Playboy Enters., Inc. v. Netscape Commce’ns Corp.,
354 F.3d 1020 (9th Cir. 2004) oe eecceseesseesessseseseseseesseesesasssaessssseserssensersees 23

Revlon Consumer Prods. Corp. v. Jennifer Leather Broadway, Inc.,
858 F. Supp. 1268 (S.D.NLY. 1994) ce cesssssssesrcssevsscrsseessessesessssssessesseeens 28

Reynolds Consumer Products Inc. v. Handi-Foil Corp.,
2014 WL 794277 (E.D. Va. 2014) ve eescseseseesecsesscescnesseessssessereenseneseeseesees 9, 10

Sazerac Co. v. Fetzer Vineyards, Inc.,
265 F. Supp. 3d 1013 (N.D. Cal. 2017)... eeeeeseereeesneessseneesseessesnessseseseesegs 23

Sazerac Co. v. Fetzer Vineyards, Inc.,
786 F. App’x 662 (9th Cir, 2019) ee eicsccsseessesscressecnseesssseeessssssscsecteseseesnens 23

Scott Fetzer Co. v. House of Vacuums Inc.,
381 F.3d 477 (Sth Cir, 2004) woe eeesesseeseeeseeseeeeeseesecseecenecseesaeesaseesssesessennees 15

Simon Prop. Grp. L.P. v. mySimon, Inc.,
104 F. Supp. 2d 1033 (S.D. Ind. 2000)... ee eeeeeeeeseesneeeseereeenesseeesneenneennaees 9

iv
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 5 of 36

Skechers U.S.A., Inc. v. Vans, Inc.,

2007 WL 4181677 (C.D. Cal. Nov. 20, 2007) oo... cscescsssssessscsssessessestesesseeneees 24
Smith v. Wal-Mart Stores, Inc.,

537 F. Supp. 2d 1302 (N.D. Ga. 2008)... cccccessessssestenessetseneeeesesestesersersereneey 13
Superior Consulting Servs., Inc. v. Shaklee Corp.,

2018 WL 2087239 (M.D. Fla. May 4, 2018) oc eccssssseeersersssssereeseeteeees 10, 20
THOIP v. Walt Disney Co.,

690 F. Supp. 2d 218 (S.D.N-Y. 2010) wcccccsescssrsessesrsssesssssesssctseeeseesssenss 11,22
THOIP v. Walt Disney Co.,

788 F. Supp. 2d 168 (S.D.N.Y. 2011) vce ccccssssctssessesessesssresssssesserserseseessesenes 28
United States v. Pon,

963 F.3d 1207 (11th Cir. 2020) oe eeeeceeeeseeneesseeeeeeseeseeesseveaasssssaeessesens 8, 10, 11
Valador, Inc. v. HTC Corp.,

242 F. Supp. 3d 448 (E.D. Va. 2017) ...ceecsssscsssessesssssesssstessssssssssensserens 10, 13
Wreal, LLC v. Amazon.com, Inc.,

2016 WL 8793317 (S.D. Fla. Jan. 7, 2016)... eceesesseseessensesesseesseeseevsseseees 15
Wreal, LLC vy. Amazon.com, Inc.,

2019 WL 3890320 (S.D. Fla. July 26, 2019) oe eceseseesesteeteseeesseneeneeens 12,16
Rules
Federal Rule of Evidence 403 ..........cc:ccsssesssesssssccccccseeeesceeeeeecssessssssssesersnessananeees 1, 8,9
Federal Rule of Evidence 702 .......:ccscccccccccessssssseccecsssssseecceccesssseeeeescessnsnaeeeeeeess 1, 7,8
Northern District of Florida Local Rule 7.1 .......c.cccccccssssssssccesessssessecessessnssnaeeeseresess 1
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B. Swann eds., 2012) oe ceeseesseeseeesceessesseesseeseeessessessaeesceeseesaeessessneseeeeseseneeeaees 25

Vv
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 6 of 36

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Reference Manual on Scientific Evidence (Federal Judicial Center,
3d ed. 2011) w.ceececcesescrteeeneeeseees seeesecsacenesueesecaseneceseesuceseesueceaeeseeesaeeeaseneesnees 27

Shari Seidman Diamond, Surveys in Dilution Cases IT, in Trademark
& Deceptive Advertising Surveys (Shari Seidman Diamond and
Jerri B. Swann eds., 2012) ......ccssscssseessecesseesssesssseeeessecrsscesseesssceseeeesseeeseresserens 14

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Competition (Sth ed. 2021)... cesesssseccesscnsctssesssssessesecsesesssseaeneenseens 12, 18, 21

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Confusion Surveys, in Trademark & Deceptive Advertising
Surveys (Shari Seidman Diamond and Jerri B. Swann eds., 2012) ...... seen 15

vi
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 7 of 36

Pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
(1993), Federal Rules of Evidence 403 and 702, and Local Rule of the Northern
District of Florida 7.1, Defendants ViacomCBS Inc., 495 Productions Holdings
LLC, and 495 Productions Services LLC (collectively, “Defendants”) have moved
this Court to exclude in part the reports and expert testimony of Prof. David Franklyn
and hereby submit their memorandum in support thereof.

PRELIMINARY STATEMENT

Franklyn’s confusion survey and expected testimony opining on the
likelihood of confusion between Plaintiffs’ food and drink establishments and
Defendants’ reality TV series (“MTV Floribama Shore” or the “Series”) should be
excluded, because the survey violates multiple basic principles of survey design.
Franklyn claims that he attempted to test for both forward and reverse confusion in
the same survey. But rather than running two different surveys, one for each type
of confusion, as is the established practice, Franklyn used an unprecedented hybrid
design that does not reliably test for either type of confusion. Franklyn has offered
no explanation for this complete departure from accepted procedure other than the
platitude that “every case is unique.” Declaration of Susan J. Kohlmann in Support
of Motion to Exclude Expert Testimony of Prof. David Franklyn (“Kohlmann
Decl.”’), Ex. 1, 87:14-15, 91:16. But there is nothing so unusual about this case that

justifies ignoring decades of survey case law and scholarly literature.

UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 8 of 36

Indeed, Franklyn’s survey is not only unprecedented but was designed to
generate “confusion” where none exists in reality. In Franklyn’s survey, responses
referencing Plaintiffs were the indicator of confusion. But Franklyn maximized his
chances of obtaining such responses by limiting his universe of respondents to
people who were familiar with Plaintiffs, and over half of whom were Plaintiffs’
actual customers. Then, for good measure, Franklyn “primed” his respondents to
give responses referencing Plaintiffs by asking them about their relationship to
Plaintiffs in an initial screening question.

Franklyn’s hybrid survey is fatally flawed for all the following reasons: (1) it
used the wrong survey universe to test for forward confusion, (2) it used the wrong
stimulus to test for reverse confusion, (3) it failed to replicate market conditions by
creating a mismatch between the universe surveyed and the stimulus used, (4) early
screening questions “primed” respondents to give answers indicating confusion, (5)
the survey did not have an adequate control, and (6) Franklyn’s coding of responses
was subjective and unreliable. Many of these flaws are sufficient standing alone to
render the survey inadmissible. But taken together, they amount to a survey that
has no reliability whatsoever and would serve only to confuse and mislead the jury.
Franklyn’s confusion survey must be excluded.

BACKGROUND
On January 22, 2021, Plaintiffs and Defendants each disclosed survey

experts—Franklyn for Plaintiffs and Dr. Itamar Simonson for Defendants—to opine

2
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 9 of 36

on the likelihood of confusion between Plaintiffs’ establishments and Defendants’
television series. Franklyn conducted two surveys. The first (the “Confusion
Survey,” which Franklyn calls “Survey I”) was intended to measure the likelihood
of confusion in this case. The second (the “Geography Survey,” which Franklyn
calls “Survey II’) was designed to “assess ... the usage of Flora-Bama as a
geographic descriptor for the general region that spans the state line between Florida
and Alabama.” Kohlmann Decl., Ex. 2, at 3.

A. The Confusion Survey

The following briefly summarizes the relevant features of the Confusion
Survey.

Screening Questions. Franklyn screened the survey universe to include only
respondents who both (1) were aware of Plaintiffs’ establishment, the Flora-Bama
Lounge, and (2) lived in a “qualifying” zip code. This was achieved through
screening questions at the beginning of the survey. One question provided a list of
nine bars or restaurants “located in the general region of the Florida Alabama
border,” including the Flora-Bama Lounge, and asked respondents to state for each
establishment whether they had heard of it and whether they had visited. Kohlmann
Decl., Ex. 2, at 20. Respondents who had never heard of the Flora-Bama Lounge
were terminated from the survey. Jd. Respondents were also asked to provide their

zip code. Id. at 18-19. Zip codes qualified a respondent to participate only if they

3
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 10 of 36

appeared in at least ten unique entries on what Franklyn states is Plaintiffs’ “mailing

list.” Id. at 19.)

Test and Control Stimuli. Qualifying respondents were sorted into either the
“test” group or the “control” group. The test group was shown a promotional video
for MTV Floribama Shore. The control group was shown a promotional video for
an entirely different television show, Ex on the Beach.

Confusion Questions. Respondents were then asked four questions about the
video they had just watched that were designed to test for confusion:

1. First, respondents were asked to identify the company that “makes or
puts out” the television show promoted in the video. Jd. at 14. Nearly
all respondents in the test group correctly identified MTV, and
responses to this question did not identify any confusion. Jd. at 39;
Kohlmann Decl., Ex. 1, 159:8-22.

66s

2. Next, respondents were asked whether the television show “is
sponsored or approved” by another company, and if so, what company.
Kohlmann Decl., Ex. 2, at 14-15. This question was designed to test
for forward confusion only. Kohlmann Decl., Ex. 1, 160:3-16.

3. Respondents were then asked whether the television show “sponsors or
approves” another company, and if so, what company. Kohlmann
Decl., Ex. 2, at 15-16. This question was designed to test for reverse
confusion. Kohlmann Decl., Ex. 1, 185:2-13.

4, Finally, respondents were asked whether the television show “has a

 

' At his deposition, Franklyn did not appear to have a clear understanding of what
the list he used represented. Kohlmann Decl., Ex. 1, 110:3-116:7. At first he
claimed it was “a log of people who have visited the lounge over the years,” id. at
111:20-21, but subsequently conceded that it appeared to be a list of people who
bought tickets to events at the Flora-Bama or made purchases on Plaintiffs’ online
store. Jd. at 115:9-15. Franklyn could not explain why Plaintiffs’ marketing expert,
Michael Albrecht, relied on an entirely different set of customer lists in concluding
that Plaintiffs’ customers come from all across the country. Jd. at 116:13-117:25.

4
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 11 of 36

business affiliation or connection with” another company, and if so,
what company. Kohlmann Decl., Ex. 2, at 16-17. Franklyn testified
that this question was designed to test for both forward and reverse
confusion. Kohlmann Decl., Ex. 1, 202:25-203:16.

Ultimately, Franklyn concludes that 22% of respondents in his test group gave
at least one response indicating confusion. Kohlmann Decl., Ex. 2, at 45.

Question about MTV Floribama Shore. Finally, respondents were asked to
“describe [their] relationship with” MTV Floribama Shore. Id. at 17. 50% of
respondents in the test group indicated that they had never heard of the Series at all.
Further, only 13% of respondents indicated that they had ever watched the Series,
and only 6% indicated that they had watched more than once or twice. Id. at 44.

B. The Geography Survey

Franklyn’s Geography Survey used two different subsamples of respondents,
each of which was constructed from a different universe from the Confusion
Survey’s. The first, “national” subsample consisted of adults in the United States,
with no further demographic screening. The second, “regional” subsample was
limited to adults who provided a zip code “within 25 miles of the border between
Florida and Alabama,” id. at 32—but not including any of the portion of the border
that runs eastward toward Georgia. Kohlmann Decl., Ex. 2, Appendix B — Survey
2, at 1.

Respondents in both subsamples were shown the following map:

5
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 12 of 36

TENNESSEE

SOUTHCAROLINA 22

  

ARKANSAS

MISSISSIPPI GERORGEA
ALABAMA

    

LOUTISEANA

 

FLORIDA

 

Franklyn describes the map as “highlight[ing] the region along the Florida
Alabama border,” Kohlmann Decl., Ex. 2, at 27, but again, the highlighted region
did not include the eastern portion of the border. Franklyn testified that he could not
recall why the rest of the border was not included. Kohlmann Decl., Ex. 1, 225:3-
13. He further testified that he believed the highlighted region was the region most
likely to be described geographically as “Flora-Bama,” but could not recall the basis
for that understanding. Jd. at 225:15-226:8.

Respondents were then asked to list “any and all names” they would use to
describe the highlighted portion of the map. Kohlmann Decl., Ex. 2, at 30. 7% of
respondents in the “regional” subsample gave the response “Flora-Bama,” as did 2%

of respondents in the “national” subsample. Jd. at 47, 49.

6
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 13 of 36

Given the lack of case law on the appropriate design for this type of survey,
Defendants do not seek to exclude the Geography Survey. Nevertheless, it is clear
that the survey did not reliably test the extent to which “Flora-Bama” is used as a
geographic descriptor.’ Instead, Franklyn tested whether people give the name
“Flora-Bama” when asked to describe an arbitrary circular area on a map. The
survey did not, and could not, test whether more respondents might have given the
name “Flora-Bama” if the highlighted region had been defined differently (by
including the rest of the Florida Panhandle, for example). With that being said, the
survey does prove at least some use of “Flora-Bama” in a geographically descriptive
sense.

LEGAL STANDARD

Federal Rule of Evidence 702 authorizes the admission of the testimony of an
expert qualified by knowledge, skill, experience, training or education, but only if:
(1) the expert’s specialized knowledge will help the trier of fact; and (2) the
testimony is based on sufficient facts or data and is produced by reliable principles

and methods, which the expert then reliably applied to the case. Fed. R. Evid.

 

* For example, the Geography Survey also found that only 3% of “regional”
respondents (and 6% of “national” respondents) called the highlighted area
“Florida/Alabama Borderline,” Kohlmann Decl., Ex. 2, at 47, 49, yet “Florida/
Alabama Borderline” is obviously geographically descriptive. Franklyn testified
that his survey did “not suggest[] anything one way or the other” on whether
“Florida/Alabama Borderline” is only rarely used as a geographic descriptor.
Kohlmann Decl., Ex. 1, 228:13-19. The same necessarily holds true for “Flora-
Bama.”

7
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 14 of 36

702(a)-(d). Trial judges serve as “gatekeepers,” ensuring that “speculative,
unreliable expert testimony” is not admitted. Hughes v. Kia Motors Corp., 766 F.3d
1317, 1328-29 (11th Cir. 2014) (quoting Rink v. Cheminova, Inc., 400 F.3d 1286,
1291 (11th Cir. 2005)). The court’s gatekeeping function is critical because an
expert’s testimony “can be both powerful and quite misleading because of the
difficulty in evaluating it.” Daubert, 509 U.S. at 595 (citation omitted).

To determine the admissibility of expert testimony, courts apply a three-part
inquiry. Allison v. McGhan Med. Corp., 184 F.3d 1300, 1309 (11th Cir. 1999).
First, the expert must be qualified to testify on the matter addressed. Jd. Second,
the expert’s conclusions must be supported by reliable methodologies. Jd. Third,
the expert’s scientific, technical, or specialized knowledge must assist the trier of
fact. Id. The burden of satisfying all three parts of this inquiry rests with the party
offering the expert. Jd. at 1306.

Courts determine whether a theory or method is reliable based on four factors:
“(1) whether it can be (and has been) tested; (2) whether it has been subjected to
peer review and publication; (3) what its known or potential rate of error is, and
whether standards controlling its operation exist; and (4) whether it is generally
accepted in the field.” United States v. Pon, 963 F.3d 1207, 1220 (11th Cir. 2020)
(citation omitted).

Additionally, under Federal Rule of Evidence 403, a court may exclude

evidence “if its probative value is substantially outweighed by a danger of... . unfair

8
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 15 of 36

prejudice, confusing the issues, [or] misleading the jury.” Fed. R. Evid. 403. Courts
have excluded confusion surveys and related expert testimony under Rule 403
where the surveys were sufficiently flawed that their probative value was
outweighed by the potential for the jury to be misled or confused. See, e.g., Kargo
Glob., Inc. v. Advance Mag. Publishers, Inc., 2007 WL 2258688, at *12 (S.D.N.Y.
Aug. 6, 2007) (collecting cases and noting that “[t]he live testimony of [plaintiffs]
highly seasoned and impressively credentialed consumer confusion expert,
regarding the results of [a] deeply flawed ... [s]urvey, would prove to be both
powerful and quite misleading” (citations and quotation marks omitted)); Simon
Prop. Grp. L.P. v. mySimon, Inc., 104 F. Supp. 2d 1033, 1052 (S.D. Ind. 2000).
ARGUMENT

Franklyn’s testimony regarding likelihood of confusion must be excluded
because it is based on untested and unreliable survey methodology. Franklyn used
a novel hybrid survey design for which he was unable to identify any precedent in

the case law or elsewhere. That alone casts serious doubt on the reliability of

 

3 At his deposition, Franklyn claimed to have relied on court decisions providing
support for his methodology, but could not recall those decisions and promised to
provide them to Defendants after the deposition. Kohlmann Decl., Ex. 1, 100:13-
101:8, 129:10-130:10, 191:24-192:6. On Friday, April 23 (the last business day
before Defendants’ filing deadline), at 6 p.m., Plaintiffs’ counsel emailed four case
citations without further explanation. Defendants thus have not had the opportunity
to ask Franklyn how those cases informed his survey design. One of those cases,
Reynolds Consumer Products Inc. v. Handi-Foil Corp., 2014 WL 794277 (E.D. Va.
2014), does not appear to have any relevance to Franklyn’s methodology at all. No
survey in that case purported to test for both forward and reverse confusion at the

9
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 16 of 36

Franklyn’s design. See Pon, 963 F.3d at 1220-21 (affirming exclusion of expert
testimony based on theory that had not been tested and was not generally accepted).
In addition, Franklyn’s survey violates so many principles of survey design that it is
devoid of probative value. It uses the wrong survey universe to test for forward
confusion and uses the wrong stimulus to test for reverse confusion. Franklyn’s
confusion numbers were artificially inflated by his use of a screening question that
improperly primed respondents to think of the Flora-Bama Lounge and by his use of
an improper control stimulus. Finally, Franklyn coded survey responses himself
rather than relying on an independent third party, resulting in multiple errors.

Each of these flaws alone is sufficient to seriously undermine the reliability
of Franklyn’s survey. Taken in combination, they require that his survey and related
testimony be excluded. See, e.g., Pinnacle Advert. & Mktg. Grp., Inc. v. Pinnacle
Advert. & Mktg. Grp., LLC, 2019 WL 7376782, at *7-8 (S.D. Fla. Sept. 26, 2019)
(excluding survey due to improper questions and failure to replicate marketplace
conditions); Superior Consulting Servs., Inc. v. Shaklee Corp., 2018 WL 2087239,
at *4 (M.D. Fla. May 4, 2018) (excluding survey for failing properly to show mark
at issue and including no control); Valador, Inc. v. HTC Corp., 242 F. Supp. 3d 448,

459 (E.D. Va. 2017) (finding survey inadmissible due to improper universe, failing

 

same time. Reynolds is also factually distinguishable because it was a lawsuit
between two competing manufacturers of aluminum foil. /d. at *1. The other three
cases are discussed infra at notes 8 and 11. None supports Franklyn’s methodology.

10
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 17 of 36

to replicate marketplace conditions, and not using control group), aff'd, 707 F. App’x
138 (4th Cir. 2017); THOIP v. Walt Disney Co., 690 F. Supp. 2d 218, 219 (S.D.N.Y.
2010) (excluding survey and noting that “[e]xclusion may be justified, however,
where a single error or the cumulative errors are so serious that the survey is
unreliable or insufficiently probative”).

I. FRANKLYN’S CONFUSION SURVEY USES AN UNPRECEDENTED

FORMAT THAT DOES NOT RELIABLY TEST FOR EITHER
FORWARD CONFUSION OR REVERSE CONFUSION.

Franklyn’s Confusion Survey uses a novel hybrid design with no identified
precedent in the case law or scholarly literature. As a method that has not been
generally accepted or peer reviewed, it fails to satisfy two key criteria for reliability.
See Pon, 963 F.3d at 1220. But in addition to its novelty, Franklyn’s survey directly
violates fundamental principles for testing for forward and reverse confusion, as

summarized in the following chart:

LL Forward confusion Reverse confusion

What Franklyn Surveyed junior user’s (here, | Used senior user’s (here,
should have done | Defendants’) potential Plaintiffs’) mark as stimulus
| | customers
Surveyed senior user’s Used junior user’s (here,
(here, Plaintiffs’) potential Defendants’) mark as

_| and actual customers stimulus

 

 
 
   
  
    

 

 

  

 

What Franklyn
did

 

 

 

The survey is thus entirely unreliable and should be excluded.

A. Franklyn Surveyed the Wrong Universe to Test for Forward
Confusion.

Franklyn surveyed a universe that is irrelevant to forward confusion: people

11
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 18 of 36

who are aware of Plaintiffs and live in areas where Plaintiffs’ customers are located.*
In a forward confusion survey, the relevant survey universe is composed of potential
buyers or consumers of the junior user’s goods or services. 6 McCarthy on
Trademarks & Unfair Competition § 32:159 (5th ed. 2021) (“McCarthy”); accord
Amstar Corp. v. Domino's Pizza, Inc., 615 F.2d 252, 264 (Sth Cir. 1980); Joules Ltd.
v. Macy’s Merch. Grp. Inc., 2016 WL 4094913, at *10 (S.D.N.Y. Aug. 2, 2016);
Atlanta Allergy & Asthma Clinic, P.A. v. Allergy & Asthma of Atlanta, LLC, 685 F.
Supp. 2d 1360, 1373 (N.D. Ga. 2010); William G. Barber, The Universe, in
Trademark & Deceptive Advertising Surveys 28-29 (Shari Seidman Diamond and
Jerri B. Swann eds., 2012) (“Diamond & Swann”).> “The reason for this rule is
clear—in cases alleging forward confusion, what is at issue is whether the junior
user’s mark is likely to confuse consumers. In order to fairly test that issue, one
must look at those consumers likely to encounter the junior user’s mark in the

marketplace.” Barber, The Universe, in Diamond & Swann 29.

 

4 Forward confusion occurs when consumers believe the junior user’s products (here,
Defendants’ Series) come from the senior user (here, Plaintiffs). 4 McCarthy on
Trademarks & Unfair Competition § 23:10 (Sth ed. 2021), Reverse confusion occurs
when consumers believe the senior user’s products come from the junior user. Jd.
In a reverse confusion case, “the junior user does not seek to profit from the good
will associated with the senior user’s mark.” Wreal, LLC vy. Amazon.com, Inc., 2019
WL 3890320, at *9 (S.D. Fla. July 26, 2019) (quoting Sands, Taylor & Wood Co. v.
Quaker Oats Co., 978 F.2d 947, 957 (7th Cir. 1992)). Rather, the junior user
“saturates the market” with its trademark, overwhelming a smaller senior user. Jd.

> Franklyn recognized that Diamond & Swann’s volume is “an authoritative guide
to designing confusion surveys.” Kohlmann Decl., Ex. 1, 95:17-96:2.

12
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 19 of 36

Choosing the proper survey universe is “one of the most important factors”
determining the validity of a survey. Amstar, 615 F.2d at 264; Smith v. Wal-Mart
Stores, Inc., 537 F. Supp. 2d 1302, 1323 (N.D. Ga. 2008). Accordingly, courts
routinely exclude expert testimony based on surveys of the wrong universe. See,
e.g., CSL Silicones, Inc. v. Midsun Grp. Inc., 2017 WL 6055380, at *8 (D. Conn.
Dec. 7, 2017); Valador, 242 F. Supp. 3d at 459-61; Hodgdon Powder Co. v. Alliant
Techsystems, Inc., 512 F. Supp. 2d 1178, 1182 (D. Kan. 2007) (excluding survey
where “a biased method was used for the selection of participants—only people
familiar with plaintiff were surveyed”); cf Phelan Holdings, Inc. v. Rare Hosp.
Memt., Inc., 2017 WL 1135266, at *7 n.7 (M.D. Fla. Mar. 27, 2017) (noting that if
the court had not granted summary judgment, it would have excluded survey for
failing to test appropriate universe).

In this case, Defendants are the junior user. Yet Franklyn did not survey
potential viewers of the Series. Instead, Franklyn screened respondents based on
their awareness of Plaintiffs and whether they came from geographic areas from
which Plaintiffs draw their customer base. As a result, only 13% of his universe had

ever watched the Series, and half had never even heard of it.° And although the

 

® Moreover, the survey responses likely inflate the number of respondents who were
actually aware of or had watched the Series, due to Franklyn’s failure to control for
spurious awareness. Kohlmann Decl., Ex. 4, J] 23-26. This refers to the well-
established tendency of survey respondents to claim awareness of names or brands
they have not in fact heard of. See Kevin Lane Keller, Strategic Brand Management:
Building, Measuring, and Managing Brand Equity 341 (4th ed. 2013); Shari

13
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 20 of 36

Series has a national audience, Franklyn’s screening procedures resulted in a survey
population that contained no respondents at all from 41 states (and a sample size of
one for an additional three states). Kohlmann Decl., Ex. 5.’ Ultimately, Franklyn’s
universe biased the results in Plaintiffs’ favor by ignoring viewers or potential
viewers of the Series who are not aware of Plaintiffs and thus could not have been
confused upon seeing the Series title. See Hodgdon Powder, 512 F. Supp. 2d at
1182.

Further, over half of the respondents in Franklyn’s test group (136 of 250)
were not only aware of the Flora-Bama Lounge but indicated that they had actually
visited in the past. Kohlmann Decl., Ex. 6. “Senior users who limit a survey’s
universe to their own actual customers are obviously trying to rig the survey to

produce a favorable result.” Barber, The Universe, in Diamond & Swann 31; see

 

Seidman Diamond, Surveys in Dilution Cases I, in Diamond & Swann 156. One
method to control for spurious awareness is to present respondents with a list of
brands in the same product category, including one or more nonexistent brands as
controls. Respondents who claim awareness of the controls should then be excluded
from the survey. See Shari Seidman Diamond, Surveys in Dilution Cases II, in
Diamond & Swann 156-57. Indeed, that is precisely the method Franklyn used to
measure awareness of Plaintiffs in his screening question. Kohlmann Decl., Ex. 2,
at 20. But to measure awareness of MTV Floribama Shore, Franklyn inexplicably
used a different method and simply asked respondents whether they were aware of
or had watched that particular series, without using a list of other television series or
acontrol. Jd. at 17; Kohlmann Decl., Ex. 1, 218:12-219:7.

7 Franklyn did not include detailed tabulations of the responses to his survey’s
questions in his report and instead simply provided a spreadsheet with the raw data.
Exhibits 5, 6, and 7 to the Kohlmann Declaration were prepared by Defendants based
on their analysis of the data in that spreadsheet. An Excel file of the spreadsheet
(titled “Appendix D - Survey | Data’’) is being provided to the Court via flash drive.

14
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 21 of 36

Scott Fetzer Co. v. House of Vacuums Inc., 381 F.3d 477, 487-88 (Sth Cir. 2004)
(survey of universe constructed from senior user’s customer lists was too flawed to
create question of fact as to confusion). The fact that over half of Franklyn’s
universe consisted of actual customers of Plaintiffs further undermines the reliability
of the survey.

Ultimately, Franklyn purported to test for forward confusion by surveying a
universe that is irrelevant to that issue. This flaw alone is sufficient to require the
exclusion of the Confusion Survey.

B. Franklyn Used the Wrong Stimulus to Test for Reverse Confusion.

Franklyn’s testimony on reverse confusion is also fatally unreliable due to his
use of the wrong survey stimulus. Reverse confusion occurs when consumers are
confused about the source of the senior user’s goods or services. Accordingly, the
appropriate survey stimulus in a test for reverse confusion is an example of the senior
user’s mark, See, e.g., Wreal, LLC v. Amazon.com, Inc., 2016 WL 8793317, at *12
(S.D. Fla. Jan. 7, 2016) (“In a reverse confusion case, the survey shows respondents
an example of the senior user’s mark as used in commerce. . . .”); Denimafia Inc. v.
New Balance Athletic Shoe, Inc., 2014 WL 814532, at *7, *20-22 (S.D.N.Y. Mar. 3,
2014) (approving reverse confusion survey that used image of plaintiffs product as
stimulus); Itamar Simonson & Itan Kivetz, Demand Effects in Likelihood of
Confusion Surveys, in Diamond & Swann 248 (‘[I]n a ‘reverse confusion’ case, the

‘senior’ (allegedly infringed) mark is presented.”). A proper survey should then

15
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 22 of 36

analyze whether respondents mention the junior user’s mark in their answers, thus
testing whether the junior mark has in fact “saturated” the senior user’s market—the
key claim in a reverse confusion case. Wreal, LLC v. Amazon.com, Inc., 2019 WL
3890320, at *9 (S.D. Fla. July 26, 2019); Koninklijke Philips Electronics N.V. v.
Hunt Control Sys., Inc., 2017 WL 3719468, at *33 (D.N.J. Aug. 29, 2017) (“[T]he
point [of a reverse confusion survey] is to test whether the junior user’s mark has
saturated the market.”).

Here, although Plaintiffs are the senior user, Franklyn did not show
respondents Plaintiffs’ mark. Instead, Franklyn flipped the standard reverse
confusion survey format on its head by showing respondents a video of Defendants’
show and asking them whether the producer of the show “sponsors or approves”
another company. Kohlmann Decl., Ex. 2, at 15-16. This is not an accepted method
to test for reverse confusion—indeed, Franklyn testified that he had never tested for
reverse confusion in this way before, nor could he identify any court decision
approving the method. Kohlmann Decl., Ex. 1, 192:15-193:5.

This method also biased results in Plaintiffs’ favor. Under the accepted survey
method, Franklyn should have shown respondents Plaintiffs’ mark and tallied
answers that mentioned MTV Floribama Shore. A large number of such answers
would have been probative of reverse confusion by indicating high awareness, or
saturation, of MTV Floribama Shore in Plaintiffs’ market. Here, however, Franklyn

made every respondent artificially familiar with MTV Floribama Shore by showing

16
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 23 of 36

them a video of that show. And by testing whether respondents named Plaintiffs in
their answers, he did not and could not test whether Defendants have saturated
Plaintiffs’ market. Further, this flaw significantly impacted Franklyn’s results: over
half (13 of 25) of the answers to the reverse confusion question that Franklyn coded
as indicating confusion came from respondents who also stated that, before taking
the survey, they had never heard of the Series. Kohlmann Decl., Ex. 7. In a survey
using the accepted method, none of these respondents would have given answers
that indicated confusion, because they could not have named MTV Floribama Shore.

Franklyn testified that he did not need to use Plaintiffs’ mark as a stimulus
because he limited the universe to people who were aware of Plaintiffs. Kohlmann
Decl., Ex. 1, 189:12-190:11. But the universe and the stimulus are not an either-or
proposition. Even assuming Franklyn picked the correct universe for a reverse
confusion survey, accepted methods still required him to use Plaintiffs’ mark as the
stimulus. The problem with Franklyn’s reverse confusion survey format is that it
failed to account for the significant portion of Plaintiffs’ customer base (which
Franklyn’s own survey demonstrated to be at least 50%) that has not heard of MTV
Floribama Shore and thus cannot experience reverse confusion. Franklyn’s limited
survey universe did nothing to address this problem.

Moreover, Franklyn’s reverse confusion and forward confusion questions
were identical except for the fact that one used the active voice and the other used

the passive voice. It is unlikely that respondents parsed the questions finely enough

17
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 24 of 36

to understand the difference. Indeed, a number of respondents gave confusion-coded
answers to both questions, effectively stating that they believed both that the Series
was sponsored by the Flora-Bama Lounge and that the Series sponsored the Flora-
Bama Lounge. Those responses suggest that, rather than reliably testing for forward
and reverse confusion, Franklyn’s questions were simply confusing.

Franklyn’s reverse confusion methodology is not only unprecedented but
artificially inflated his confusion estimates. This also requires the exclusion of his
survey.

C. Franklyn’s Hybrid Survey Design Does Not Reflect Marketplace
Conditions.

A fundamental principle of survey design is that a survey must seek to mirror
actual marketplace conditions. J.T. Colby & Co. v. Apple Inc., 2013 WL 1903883,
at *20 (S.D.N.Y. May 8, 2013); McCarthy § 32:163 (“The closer the survey methods
mirror the situation in which the ordinary person would encounter the trademark, the
greater the evidentiary weight of the survey results.”); see Pinnacle Advert. & Mktg.
Grp., Inc. v. Pinnacle Advert. & Mktg. Grp., LLC, 2019 WL 7376782, at *6 (S.D.
Fla. Sept. 26, 2019) (excluding survey that “created an artificial marketplace instead
of replicating actual market conditions”). For that reason, as explained above,
respondents in confusion surveys are shown a mark they are likely to encounter in
the real world based on the screening criteria used to define the survey universe. In

a forward confusion survey, for instance, respondents are selected from the junior

18
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 25 of 36

user’s likely customers and are shown the junior user’s mark. Franklyn, however,
tested an artificial scenario in which Plaintiffs’ likely (or actual) customers
encounter Defendants’ mark. The survey results themselves show how unlikely that
scenario actually is—at least 50% of respondents had in fact never heard of the
Series. By creating a mismatch between the population surveyed and the stimulus
it was shown, Franklyn’s survey tested a contrived situation divorced from the
realities of the marketplace.

Indeed, Franklyn’s survey design is artificially calibrated to produce as much
confusion as possible even where none exists in reality. For a consumer to be
confused, he or she must be aware both of Plaintiffs and of Defendants. But there is
relatively little overlapping awareness of Plaintiffs and Defendants in the relevant
population: Franklyn’s survey shows that at least 50% of Plaintiffs’ customers have
never heard of MTV Floribama Shore, and conversely, as Franklyn testified,
Plaintiffs likely have no more than 1-2% name recognition nationwide. Kohlmann
Decl., Ex. 1, 276:19-277:1. Thus, if he had used accepted survey methods, Franklyn
would likely have produced very low confusion numbers (and indeed, the forward
confusion survey conducted by Simonson found 0% confusion, KohImann Decl.,
Ex. 3, § 15). Instead, Franklyn created an artificial survey universe composed
entirely of people who are aware both of Plaintiffs (due to Franklyn’s screening
procedures) and MTV Floribama Shore (after having been shown the stimulus

video). While that might have boosted confusion numbers, it does not reflect the

19
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 26 of 36

reality of the marketplace.

Franklyn testified that his hybrid method was necessary because “this is a
unique case in which there is both reverse and forward confusion going in opposite
directions at the same time.” Kohlmann Decl., Ex. 1, 126:21-24. But there is already
an accepted survey method for such cases: running separate surveys to test for each
type of confusion, using different survey universes and different stimuli. Franklyn
could not identify any reason why he could not have run separate surveys in this
case. Id. at 127:3-13. Nor was he able to identify any court decision approving his

hybrid method, despite claiming that such decisions exist. Jd. at 129:10-130:10.8

 

8 Plaintiffs appear to believe that two of the four cases cited in their Friday-evening
email support Franklyn’s hybrid approach, but both are simply red herrings. In the
first case, Superior Consulting Services, Inc. v. Shaklee Corp., 2018 WL 2087239
(M.D. Fla. May 4, 2018) (“Shaklee’’), the defendant’s expert ran a conventional
reverse confusion survey, not an unprecedented hybrid like Franklyn’s. See Expert
Report of Hal Poret at 7, Shaklee (No. 6:16-cv-2001), ECF No. 172-1 (explaining
that survey universe consisted of “the senior user’s prospective customers[, who] are
the accepted universe for assessing likelihood of reverse confusion’); id. at 9
(explaining that survey questions were “modelled on reverse confusion”). The
expert then opined that the survey happened also to be probative of forward
confusion, for two reasons that do not apply to Franklyn’s survey. First, 70.3% of
respondents were also prospective customers of the junior user—the appropriate
universe for testing forward confusion. Jd. at 7, 63. By contrast, only 13% of
Franklyn’s respondents were viewers of the Series. Second, the survey in Shaklee
used a “Sequential Lineup,” or “Squirt,” format, in which respondents are shown
both conflicting marks and asked specifically about the relationship between the two.
Id. at 7-8, 36-37. The Shaklee expert opined that in the scenario tested by a Squirt
survey, the order in which the marks are presented should not matter. Jd. at 9.
Franklyn, however, did not use a Squirt format, and as explained infra in Part II, he
had no basis to. Instead, he used only Defendants’ Series as a stimulus and measured
responses that referred to Plaintiffs, and thus could not test for reverse confusion.
The second case, Kelly-Brown v. Winfrey, 95 F. Supp. 3d 350 (S.D.N.Y. 2015)

20
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 27 of 36

Franklyn also testified that in the context of this case it is sometimes difficult
to determine whether a particular instance of confusion constitutes forward or
reverse confusion. Jd. at 126:17-127:1. But while that may be true—in this case as
in many others—speculating about the existence of ambiguous cases does not give
Franklyn free rein to ignore established rules and accepted practices. Franklyn’s
confusion survey uses a design that is unprecedented, violates basic principles of
confusion survey reliability, and is jury-rigged to yield results favorable to Plaintiffs.
It must be excluded.

Il. FRANKLYN’S SCREENING QUESTION PRIMED RESPONDENTS

TO NAME PLAINTIFFS IN ANSWERS TO SUBSEQUENT
QUESTIONS.

Franklyn’s survey design stacked the deck even further in Plaintiffs’ favor by
priming respondents to think of the Flora-Bama Lounge in an initial screening
question.

It is well established that, where the parties’ marks do not ordinarily appear

 

(“Kelly-Brown’’), provides even less support for Franklyn’s methodology. The court
in that case referred in shorthand to a single survey measuring both forward and
reverse confusion. Jd. at 362. But the expert at issue, who is Defendants’ survey
expert in this case, Itamar Simonson, actually conducted two separate surveys in
accordance with the accepted practices outlined in this brief. See Decl. of Dr. Itamar
Simonson { 12, Kelly-Brown (No. 11-cv-7875), ECF No. 148-28 (explaining that
survey respondents were assigned to either the forward confusion or the reverse
confusion test groups, which were shown different stimuli). The court used similar
imprecise shorthand in a third case not cited by Plaintiffs, Fuel Clothing Co. v. Nike,
Inc., 7 F. Supp. 3d 594, 621 (D.S.C. 2014) (“Fuel Clothing”). See Decl. & Rule 26
Report of Gerald L. Ford §§ 5-7, Fuel Clothing (No. 3:12-00555), ECF No. 69-10
(describing results of separate forward confusion and reverse confusion surveys).

21
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 28 of 36

near each other in the marketplace, it is improper to show respondents both parties’
marks in a confusion survey.’ See, e.g., Pinnacle Advert. & Mktg. Grp., Inc. v.
Pinnacle Advert. & Mktg. Grp., LLC, 2019 WL 7376782, at *6-7 (S.D. Fla. Sept.
26, 2019); THOIP v. Walt Disney Co., 690 F. Supp. 2d 218, 235-38 (S.D.N.Y. 2010);
Kargo Glob., Inc. v. Advance Mag. Publishers, Inc., 2007 WL 2258688, at *7-8
(S.D.N.Y. Aug. 6, 2007) (describing “back-to-back display” of conflicting marks as
“major flaw” in methodology). Doing so artificially inflates confusion estimates by
making respondents “artificially aware” during the survey of the mark that counts
toward confusion if referenced in response to survey questions. Kargo Glob., 2007
WL 2258688, at *8. Courts routinely exclude surveys that show respondents both
parties’ marks where the marks are not proximate in the marketplace. See, e.g.,
Pinnacle, 2019 WL 7376782, at *7-8; THOIP, 690 F. Supp. 2d at 241; Kargo Glob.,
2007 WL 2258688, at *12.

Here, there is no marketplace proximity between Plaintiffs’ services, which
are provided primarily at their physical establishments, and Defendants’ Series,
which is available on linear television and various streaming and video-on-demand
platforms. Franklyn’s report provides no justification for considering the parties’

marks to be proximate.! And indeed, Franklyn did not conduct a “Squirt” survey,

 

’ As noted supra note 8, confusion surveys in which both conflicting marks are
shown as stimuli are known as “Squirt” surveys. See generally McCarthy
§ 32:174.50.

10 To the extent Plaintiffs intend to argue that the parties’ marks are proximate in the

22
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 29 of 36

which would have required him to show respondents both Plaintiffs’ mark and
Defendants’ title as stimuli and ask questions about the relationship between the two.
Franklyn’s screening question, however, had precisely the same priming effect as if
he had used a “Squirt” survey. Although Franklyn did not show respondents a visual
depiction of Plaintiffs’ mark, his screening question asked them to think about their
relationship with the Flora-Bama Lounge. When respondents later answered
Franklyn’s confusion questions, they were thus much more likely to have recently
thought about the Flora-Bama Lounge than people encountering the Series under
normal marketplace conditions. This further inflated Franklyn’s confusion totals

and further undermines the reliability of his survey.!!

 

marketplace because, under limited circumstances, certain internet searches may
yield results relating to both Plaintiffs and the Series, that fact is entitled to “little
weight” because “the same could be said for countless companies.” Playboy Enters.,
Inc. v. Netscape Commce’ns Corp., 354 F.3d 1020, 1028 (9th Cir. 2004). Moreover,
if search engine results are the basis for Franklyn’s survey format, he should have
used a stimulus that reflected the search engine environment.

‘| Plaintiffs may attempt to justify this flaw in Franklyn’s survey by referencing the
defendant’s survey in Sazerac Co. v. Fetzer Vineyards, Inc., 265 F. Supp. 3d 1013
(N.D. Cal. 2017), another case cited in their Friday-evening email, which used the
defendant’s product as the stimulus but also exposed respondents to the plaintiffs
product as part of an array of 13 products at the beginning of the survey. Jd. at 1027.
They would be wrong to do so. First, in Sazerac (unlike here) the parties’ marks
were proximate in the marketplace, providing some justification for a dual-stimulus
survey design. See Sazerac Co. v. Fetzer Vineyards, Inc., 786 F. App’x 662, 664
(9th Cir. 2019) (affirming district court’s finding that parties had “overlapping
marketing channels”). Second, the expert in Sazerac, who again was Defendants’
expert in this case, Itamar Simonson, testified in Sazerac that his methodology was
“extra conservative” and “particularly favorable to plaintiffs.” Jd. It was thus an
appropriate, conservative methodology for a defendant seeking to prove a lack of
confusion. As used by a plaintiff's expert, however, that methodology serves no

23
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 30 of 36

Ill. FRANKLYN USED AN IMPROPER CONTROL.

Franklyn’s testimony must be excluded for the additional reason that his
survey used an improper control stimulus—a promotional video for the show Ex on
the Beach—that had nothing in common with the stimulus used for the test group.

The purpose of a control is to separate out confusion caused by an infringing
mark from confusion caused by other, legally irrelevant factors. Louis Vuitton
Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 595 (S.D.N.Y. 2007). For
that reason, an appropriate control should not include the allegedly infringing mark
but should otherwise be as similar as possible to the test stimulus, and the failure to
use an appropriate control weighs in favor of excluding a survey. Id. at 595-96
(control that “had little in common with the bags at issue” was “an important factor
cutting toward exclusion” of survey); see also Innovation Ventures, LLC v. NVE,
Inc., 90 F. Supp. 3d 703, 718-19 (E.D. Mich. 2015) (excluding survey that used
control with “blatantly obvious differences” from product at issue); Skechers U.S.A.,
Inc. v. Vans, Inc., 2007 WL 4181677, at *9 (C.D. Cal. Nov. 20, 2007) (control was
“useless” where it differed significantly from allegedly infringing shoe). Moreover,

the control “should not artificially direct the respondent away from indicating”

 

purpose other than to artificially increase confusion numbers. Sazerac thus simply
confirms the bias inherent in Franklyn’s methodology. Finally, the survey in
Sazerac shared none of the Franklyn survey’s other flaws: it did not seek to test both
forward and reverse confusion at the same time, and it did not use the array that
included the plaintiff's product to restrict the survey universe (as Franklyn’s
screening question did).

24
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 31 of 36

confusion. Shari Seidman Diamond, Control Foundations, in Diamond & Swann
213.

Franklyn’s control, however, shared nearly no characteristics with the MTV
Floribama Shore promo he used as a test stimulus.!* Among other differences, the
control video was not filmed in the United States, featured British-accented cast
members and voiceovers, did not show any restaurants or bars, and was scored to
fast-paced electronic music. Due to these differences, the survey could not measure
how much confusion was caused by the title MTV Floribama Shore and how much
was caused by legally irrelevant factors such as the test video’s Gulf Shore setting,
the fact that it showed cast members in bars and restaurants, or its use of a famous
Southern rock song on the soundtrack. Indeed, the control video’s foreign accents
and apparent setting on a foreign deserted island likely directed respondents in the
control group away from naming Plaintiffs’ bars and restaurants on the Florida-
Alabama border in their answers. Under these circumstances, it is no surprise that

Franklyn’s control group reflected zero confusion.?

 

!2 Video files of the stimuli used with Franklyn’s test group and control group are
being provided to the Court via flash drive. The MTV Floribama Shore promo used
with the test group is the file named “Appendix B - Test Video.” The Ex on the
Beach promo used with the control group is the file named “Appendix B - Control
Video.”

'3 Tn a confusion survey, the control group’s confusion numbers are subtracted from
the test group’s to arrive at a final “net” confusion estimate. Kohlmann Decl., Ex.
4,922. Thus, by artificially depressing his control group’s confusion numbers,
Franklyn artificially inflated his final net confusion estimate.

25
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 32 of 36

Nor is it an answer that, as Franklyn testified, it would have been difficult to
create a control by scrubbing the word “Floribama” from the test video. Kohlmann
Decl., Ex. 1, 144:21-145:1. That does not render Franklyn’s control any less
ineffective. In any event, Franklyn could have avoided this problem by using static
images (which can more easily be scrubbed of an allegedly infringing name) as
stimuli. Franklyn identified no concerns with using static images other than vague
speculation that they would cause “dissonance” in a case involving a television
series. Jd. at 310:5-15, 313:10-14. The need for an adequate control easily
outweighs such hypothetical concerns.

Franklyn testified that, when choosing his test stimulus, he considered several
MTV Floribama Shore promos and chose one whose “content .. . was pertinent to
the inquiries” he would be making. Jd. at 156:22-24. But he chose a control stimulus
with different content entirely. That violation of basic survey design principles is
yet another independent ground for excluding Franklyn’s testimony.

IV. FRANKLYN’S CODING OF SURVEY RESPONSES WAS NEITHER
ACCURATE NOR OBJECTIVE.

Finally, Franklyn’s coding methodology was unreliable and further
contributes to the inadmissibility of his survey. To accurately test for confusion,
responses to a survey’s questions must be “coded” as either reflecting confusion or
not. “Coding of answers to open-ended questions requires a detailed set of

instructions so that decision standards are clear and responses can be scored

26
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 33 of 36

consistently and accurately. Two trained coders should independently score the same

responses to check for the level of consistency in classifying responses.” Shari

Seidman Diamond, Reference Guide on Survey Research, in Reference Manual on

Scientific Evidence 413 (Federal Judicial Center, 3d ed. 2011). Rather than use

independent coders, however, Franklyn coded the responses to his survey himself,

with the help of an assistant who was familiar with the case and was also paid by

Plaintiffs. Kohlmann Decl., Ex. 1, 39:6-8, 162:16-163:20. Franklyn also did not

use any detailed set of coding instructions—he testified that he and his assistant

simply “looked at what [respondents] said, to the best of our ability, to determine

whether they were referring to the plaintiffs.” Jd. at 164:17-22. These decisions

resulted in multiple instances of erroneous or biased coding that call Franklyn’s
results into serious question.

First, Franklyn’s coding reflects at least the following obvious errors:

e One respondent, when asked which other company sponsors or

approves the Series, answered “I do not know.” Franklyn nevertheless

coded this as a response referring to Plaintiffs. Kohlmann Decl., Ex. 2,

Appendix D — Survey 1 Data, at AU227, BD227. At his deposition,

Franklyn conceded that this “might have been” a mistake but added that

he would have to “go back and check.” Kohlmann Decl., Ex. 1, 178:4-
16.

e Another person’s response to the same question was “The bar in which
they appear.” Franklyn also coded this as a response referring to
Plaintiffs, even though Plaintiffs’ bar does not appear in the video
respondents were shown. Kohlmann Decl., Ex. 2, Appendix D —
Survey 1 Data, at AU253, BD253; Kohlmann Decl., Ex. 1, 180:10-20.

Other coding decisions appear to reflect a desire to increase the survey’s

27
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 34 of 36

confusion estimate rather than an attempt to interpret responses objectively:

e One person’s response to Franklyn’s last confusion question was
“Florabama shore.” Franklyn coded this as a response referring to

66,, 99

Plaintiffs simply because “Florabama” was spelled with an “a.
Kohlmann Decl., Ex. 2, Appendix D — Survey 1 Data at BA203, BF203;
Kohlmann Decl., Ex. 1, 210:5-10.

e Another response that simply said “florabama tourism” was also coded
as referring to Plaintiffs. Kohlmann Decl., Ex. 2, Appendix D — Survey
1 Data, at AU380, BD380. At his deposition, Franklyn recognized that
this could be reference to the tourism board for the area near the
Florida-Alabama border, but asserted without elaboration that he didn’t
“think that’s the best interpretation in this context.” Kohlmann Decl.,
Ex. 1, 183:3-17.

e Finally, Franklyn appears to have coded all responses that simply said
“Florabama” as referring to Plaintiffs, Kohlmann Decl., Ex. 1, 181:20-
23, even though they could have been referencing a geographic region
or simply the (misspelled) title of the Series. Kohlmann Decl., Ex. 2,
Appendix D — Survey 1 Data, at AU340, BD340.

Because of Franklyn’s lack of a reliable coding methodology, his confusion
totals are devoid of probative value. See THOIP v. Walt Disney Co., 788 F. Supp.
2d 168, 182 (S.D.N.Y. 2011) (excluding survey due in part to improper coding);
Revlon Consumer Prods. Corp. v. Jennifer Leather Broadway, Inc., 858 F. Supp.
1268, 1276 (S.D.N.Y. 1994) (survey “entitled to no weight” due in part to subjective
coding of responses); Gen. Motors Corp. v. Cadillac Marine & Boat Co., 226 F.
Supp. 716, 736, 738 (W.D. Mich. 1964) (survey fell “far short of evidence of
sufficient probative value” due in part to inaccurate “tabulations” of ambiguous
responses). This is an additional independent ground requiring the exclusion of

Franklyn’s testimony.

28
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 35 of 36

CONCLUSION
For the foregoing reasons, Defendants respectfully request that the Court

exclude Franklyn’s testimony concerning the likelihood of confusion in this case.

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29
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 93 Filed 04/26/21 Page 36 of 36

CERTIFICATE OF COMPLIANCE PURSUANT TO LOCAL RULE 7.1
Pursuant to N.D. Fla. Local Rule 7.1, I hereby certify that this Memorandum
of Law is in compliance with the Court’s word limit. According to the word
processing program used to prepare this motion, the total number of words in the
motion, inclusive of headings, footnotes, and quotations, and exclusive of the case

style, signature block, and any certificate of service is 7,647.

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CERTIFICATE OF SERVICE
I certify that on April 26, 2021, I filed the foregoing provisionally under seal

and served electronic copies to all counsel of record pursuant to an agreement among

 

the parties.
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30
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